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Exhibit E
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Tenreiro, Jorge

From: Ceresney, Andrew J. <aceresney@debevoise.com>

Sent: Monday, January 25, 2021 6:06 PM

To: Tenreiro, Jorge

Ce: Guo, Joy; Bliss, Dugan; Waxman, Daphna A,; Daniels, Jon; Kellogg, Michael K.; Figel,
Reid M.; Zornberg, Lisa

Subject: Re: Ripple SEC Conference

 

 

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recognize the sender and know the content is safe.

 

Jorge:

Here are responses to your two questions. Happy to talk it through at your convenience.

1. What does the proposed discovery schedule look like after the Court rules on the first set of
motions for summary judgment?

Our proposal is that we would pause discovery while the SJ motion(s) are being considered, and following
decision on the motion(s), we would set a schedule for any additional discovery that may be required.

2. Without prejudice to moving on other issues (and understanding that you may not have written
out the motion for summary judgment yet!), what legal issue(s) or cause(s) of action would you
propose be resolved by this motion?

Our current thinking is that we would propose to move for SJ after the 4 months of discovery on the issue of
whether XRP as currently distributed by Ripple is a “security” such that an injunction should issue.

Andrew Ceresney
Partner
Debevoise & Plimpton

212-909-6947 .

On Jan 25, 2021, at 3:27 PM, Tenreiro, Jorge <tenreiroj@sec.gov> wrote:
1
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Hi Andrew:
Thanks for outlining your discovery proposal this morning. Could you clarify a couple of questions we
have, so that we may better evaluate the proposal?

1. What does the proposed discovery schedule look like after the Court rules on the first set of
motions for summary judgment?

2. Without prejudice to moving on other issues (and understanding that you may not have written
out the motion for summary judgment yet!), what legal issue(s) or cause(s) of action would you
propose be resolved by this motion?

We would welcome clarity on the above questions in order to get you a fulsome substantive response in
the next day or so.

Talk soon,

Jorge

From: Ceresney, Andrew J. <aceresney@debevoise.com>

Sent: Thursday, January 21, 2021 7:26 PM

To: Guo, Joy <jguo@debevoise.com>; Tenreiro, Jorge <tenreiroj@SEC.GOV>; Bliss, Dugan
<BlissD@SEC.GOV>; Waxman, Daphna A. <WaxmanD@SEC.GOV>; Daniels, Jon <danielsj@SEC.GOV>;
‘Flumenbaum, Martin’ <mflumenbaum@paulweiss.com>; ‘Bunting, Kristina’

<kbunting@ paulweiss.com>; ‘Solomon, Matthew' <msolomon@cgsh.com>; 'Janghorbani, Alexander'
<ajanghorbani@cgsh.com>; ‘Kellogg, Michael K.' <mkellogg@kellogghansen.com>; 'Figel, Reid M.'
<rfigel@kellogghansen.com>; Zornberg, Lisa <Izornberg@debevoise.com>

Subject: RE: Ripple SEC Conference

 

 

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Hi guys — does anyone object to starting this meeting at 830 rather than 9 am? If this is ok with
everyone, we can change the invite.

From: Guo, Joy

Sent: Tuesday, January 19, 2021 11:42

To: Guo, Joy; 'Tenreiro, Jorge’; 'BlissD@SEC.GOV'; 'Waxman, Daphna A.'; ‘Daniels, Jon’; 'Flumenbaum,
Martin’; ‘Bunting, Kristina’; ‘Solomon, Matthew’; ‘Janghorbani, Alexander’; ‘Kellogg, Michael K.’; 'Figel,
Reid M.'; Ceresney, Andrew J.; Zornberg, Lisa

Subject: Ripple SEC Conference

When: Monday, January 25, 2021 9:00 AM-10:00 AM (UTC-05:00) Eastern Time (US & Canada).

Where: https://debevoise.zoom.us/j/99089420438?pwd=REt2cG5JV1VnWTIvNESkZIN6bjBZUTO9

Joy Guo is inviting you to a scheduled Zoom meeting.

Join Zoom Meeting
https://debevoise.zoom.us/j/99089420438 ?pwd=REt2cGSJV1IVnWTIVNESkZIN6bjBZUTO9

 

Meeting ID: 990 8942 0438
Passcode: 728962

 
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+16465588656,,99089420438# US (New York)

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+1 301 715 8592 US (Washington D.C)
+1 312 626 6799 US (Chicago)
+1 470 250 9358 US (Atlanta)
+1 470 381 2552 US (Atlanta)
+1 651 372 8299 US (Minnesota)
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99089420438@zoomcrc.com

Join by H.323

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162.255.36.11 (US East)
115.114.131.7 (India Mumbai)
115.114.115.7 (India Hyderabad)
213.19.144.110 (Amsterdam Netherlands)
213.244.140.110 (Germany)
103.122.166.55 (Australia)
209.9.211.110 (Hong Kong SAR)
64.211.144.160 (Brazil)
69.174.57.160 (Canada)
207.226.132.110 (Japan)
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